Case: 3:22-cv-00004-GFVT-EBA Doc #: 15 Filed: 04/21/22 Page: 1 of 1 - Page ID#: 138




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     FRANKFORT

 CIVIL ACTION NO. 3:22-cv-00004-GFVT-EBA

 KENTUCKY LABORERS DISTRICT
 COUNCIL HEALTH AND WELFARE
 TRUST FUND et al,                                                                  PLAINTIFFS,


 V.                                          ORDER


 THE WINTER CONSTRUCTION
 COMPANY,                                                                          DEFENDANT.


                                         *** *** *** ***

        This matter is before the Court on Plaintiffs’ Motion to Withdraw. [R. 14]. Plaintiff moves

 for an order allowing Michael S. Vojta leave to withdraw as counsel of record pursuant to Local

 Rule 83.6. Having considered the motion, and being sufficiently advised,

        IT IS ORDERED that Plaintiffs’ motion, [R. 14], is GRANTED.

 Signed April 21, 2022
